Case: 6:07-cr-00013-DCR-JGW Doc #: 234 Filed: 05/27/08 Page: 1 of 19 - Page ID#: 870



                              United States District Court
                              Eastern District of Kentucky
                               Southern Division at London

        UNITED STATES OF AMERICA               )   London Criminal
                                               )   Action No. 07-13-SSS
          vs.                                  )
                                               )   London, Kentucky
        GEORGE CLARK                           )   May 21, 2008
                                               )   11:00 a.m.
                                               )




                  TRANSCRIPT OF TESTIMONY OF KENNETH BRIAN FOUTS
                 BEFORE THE HONORABLE DANNY C. REEVES, AND A JURY



        Appearances of Counsel:
        On behalf of the United States:            ROGER WEST, ESQ.
                                                   Assistant U.S. Attorney
                                                   260 West Vine Street
                                                   Suite 300
                                                   Lexington, Kentucky 40507

        On behalf of the Defendant:                DAVID S. HOSKINS, ESQ.
                                                   107 East First Street
                                                   Corbin, Kentucky 40701

        Court Reporter:                            CYNTHIA A. OAKES, CRR
                                                   Official Court Reporter
                                                   United States District Court
                                                   560 Athens Boonesboro Road
                                                   Winchester, Kentucky 40391
                                                   (859) 983-4346




        Proceedings recorded by mechanical stenography,
        transcript produced by computer.
Case: 6:07-cr-00013-DCR-JGW Doc #: 234 Filed: 05/27/08 Page: 2 of 19 - Page ID#: 871
                       KENNETH BRIAN FOUTS - DIRECT - MR. WEST                   2

    1         (Whereupon, the jury returned to the courtroom, after which
    2 the following proceedings were had.)
    3               THE COURT: Thank you. Please be seated.
    4               The record will again reflect that all members of the
    5 jury are present, the defendant and counsel are also present in
    6 the courtroom. I believe we had concluded with Mr. Jones as our
    7 last witness.
    8               Mr. West, you may call your next witness.
    9               MR. WEST: Yes, Your Honor. Kenneth Fouts, please.
   10                              KENNETH BRIAN FOUTS,
   11 having been first duly placed under oath, was examined and
   12 testified as follows:
   13                               DIRECT EXAMINATION
   14               THE COURT: Thank you.
   15               Mr. West, you may proceed.
   16               MR. WEST: Thank you, sir.
   17 BY MR. WEST:
   18 Q       State your name, please, sir.
   19 A       Kenneth Brian Fouts.
   20 Q       How do you spell your last name?
   21 A       F-o-u-t-s.
   22 Q       How old are you, Mr. Fouts?
   23 A       29.
   24 Q       And where do you live at, sir?
   25 A       Leslie County, Kentucky.
Case: 6:07-cr-00013-DCR-JGW Doc #: 234 Filed: 05/27/08 Page: 3 of 19 - Page ID#: 872
                       KENNETH BRIAN FOUTS - DIRECT - MR. WEST                   3

    1 Q       How long have you lived in Leslie County?
    2 A       My whole life.
    3 Q       Are you employed?
    4 A       No.
    5 Q       Sir, in August of 2006, where were you living?
    6 A       At Polls Creek, Kentucky.
    7 Q       Okay. And who were you living there with?
    8 A       My two parents.
    9 Q       And what are their names?
   10 A       Jeweldean and Johnny Fouts, Jr.
   11 Q       In the early morning hours of the 17th of August of 2006,
   12 where you sleeping at, sir?
   13 A       In the living room.
   14 Q       Okay. Is that usually where you slept when you stayed
   15 there?
   16 A       Yeah.
   17 Q       How was your father employed at the time?
   18 A       Coal mine.
   19 Q       Do you know about what time of the morning he would have to
   20 go leave to work?
   21 A       Usually right around 4:00, early.
   22 Q       I'll ask you to turn around and look at that poster behind
   23 you, sir. Look at that photograph at the top of the poster. Do
   24 you recognize that place, sir?
   25 A       Yeah, that's the house.
Case: 6:07-cr-00013-DCR-JGW Doc #: 234 Filed: 05/27/08 Page: 4 of 19 - Page ID#: 873
                       KENNETH BRIAN FOUTS - DIRECT - MR. WEST                   4

    1 Q       I'm sorry?
    2 A       That's my house.
    3 Q       That's your house?
    4 A       Yes.
    5 Q       Is that where you were staying at on the 17th of August?
    6 A       Yes.
    7 Q       Now, where that residence is located, is it at the top of
    8 the hill, the bottom of the hill, in a holler or --
    9 A       Like on a main road. I mean, it's not up no holler, it's
   10 just right beside the road.
   11 Q       Okay. The road that goes up to the house or comes down
   12 from the house, what kind of road is that?
   13 A       It's a little gravel road. It's about from -- I'd say from
   14 here to the trees from the road.
   15 Q       Were you awake when your father left to go to work that
   16 day, sir?
   17 A       No.
   18 Q       Were you awakened by something?
   19 A       Yeah.
   20 Q       Tell the jury, please, what first awakened you that day.
   21 A       Two big loud bangs. I mean, it was loud.
   22 Q       Like gunshot bangs, a car backfiring?
   23 A       No, like somebody banging on the door.
   24 Q       Okay. And how far was -- I guess you were sleeping on the
   25 couch?
Case: 6:07-cr-00013-DCR-JGW Doc #: 234 Filed: 05/27/08 Page: 5 of 19 - Page ID#: 874
                        KENNETH BRIAN FOUTS - DIRECT - MR. WEST                  5

    1 A       Yeah.
    2 Q       How far was the couch from the front door?
    3 A       About 12 feet.
    4 Q       Had you heard any vehicles come up?
    5 A       No.
    6 Q       Okay.
    7 A       I had a German Shepherd outside and didn't hear him bark.
    8 Q       Okay. What happened next, sir?
    9 A       I got up and I just naturally grabbed my pistol because I
   10 didn't know who it was, and I said I'm coming, because I thought
   11 it was my father coming back.
   12 Q       Uh-huh.
   13 A       And then when they said, "Police, we got a search warrant,"
   14 I just layed my pistol down and I reached to go unlock the door
   15 and they just shoved it on in and two big guns was in my face
   16 before I knowed what was happening.
   17 Q       Okay. How many individuals first entered the front area of
   18 the home?
   19 A       They was two.
   20 Q       Okay. How was the first person dressed?
   21 A       He was complete black with goggles and a ski mask and
   22 gloves. I mean, it was scary.
   23 Q       Was the first person saying anything to you?
   24 A       He said, "Get down," and naturally I did.
   25 Q       Okay. How was the second person dressed?
Case: 6:07-cr-00013-DCR-JGW Doc #: 234 Filed: 05/27/08 Page: 6 of 19 - Page ID#: 875
                       KENNETH BRIAN FOUTS - DIRECT - MR. WEST                   6

    1 A       He was about the same, he was in dark clothes, he had on a
    2 T-shirt, but it wasn't no way -- it wasn't covering his whole
    3 arms like the --
    4 Q       Was there anything written on the T-shirts?
    5 A       No.
    6 Q       Other than get down, did the first person say anything to
    7 you?
    8 A       He asked was anybody else in the house. I said, "My
    9 mother's asleep back there."
   10 Q       Okay. Then what happened?
   11 A       And he said, "Get down on your belly." And then -- they
   12 went by one, two, and three. One went to the bedroom and woke
   13 my mother.
   14 Q       Okay. What did he do with your mother?
   15 A       I couldn't say for sure because they was back there in the
   16 back room, but then he made her get up and they come into the
   17 living room eventually.
   18 Q       You said they went by one, two, and three. What do you
   19 mean by that, sir?
   20 A       When they was talking to each other, they would go one, are
   21 you okay, two, is everything secure, you know.
   22 Q       All right. Now, can you describe what the first
   23 individual, what weapon he was holding?
   24 A       It was a long black, like an automatic rifle. Had a light
   25 on the end of it, you know. It was right in my eyes. I could
Case: 6:07-cr-00013-DCR-JGW Doc #: 234 Filed: 05/27/08 Page: 7 of 19 - Page ID#: 876
                        KENNETH BRIAN FOUTS - DIRECT - MR. WEST                  7

    1 tell it was an assault rifle.
    2 Q       Okay. What about the second individual?
    3 A       He was holding a rifle also.
    4 Q       Was it similar to the first one?
    5 A       Uh-huh. But it didn't have no light on it.
    6 Q       Now, did you ever see a third person there, sir?
    7 A       Yes.
    8 Q       All right.
    9 A       After I was laying on the -- on the floor of the living
   10 room, a third person come in, and he first started packing stuff
   11 out, and he had a -- it was like a revolver.
   12 Q       Uh-huh.
   13 A       He was also wearing a mask.
   14 Q       What color pistol was that, sir?
   15 A       I was looking into the light, I couldn't --
   16 Q       Okay.
   17 A       I couldn't tell you.
   18 Q       How was the third person dressed?
   19 A       He had on jeans and a T-shirt and ball shoes, with a ski
   20 mask.
   21 Q       What kind of ball shows?
   22 A       They was white, and I really wasn't focusing --
   23 Q       Sure. Could you tell what color his T-shirt was?
   24 A       It was dark, a dark color.
   25 Q       Did they ever mention any police agency, that they were
Case: 6:07-cr-00013-DCR-JGW Doc #: 234 Filed: 05/27/08 Page: 8 of 19 - Page ID#: 877
                        KENNETH BRIAN FOUTS - DIRECT - MR. WEST                  8

    1 with the police, State Police, anything like that?
    2 A       Well, when they was outside, they said, "Police, we got a
    3 search warrant," so --
    4 Q       They never identified further than that?
    5 A       No.
    6 Q       Was the third one wearing a mask also?
    7 A       Yes.
    8 Q       Could you note any facial features on the first one?
    9 A       No, No. 1 had come by and all, because he had goggles and
   10 everything on.
   11 Q       Okay. What about the second one?
   12 A       (Witness shakes head negatively).
   13 Q       What about the third one?
   14 A       The third one there, he would come back out through the
   15 house, they turned -- I got to turn on a lamp, they told me to
   16 turn on a light, as he was walking by, I could tell he had to be
   17 redheaded because his mustache was sticking out underneath his
   18 hole in his mouth.
   19 Q       Uh-huh.
   20 A       And I could see red hair. I mean, it looked red.
   21 Q       Were you able to look at these individuals that were --
   22 while they were standing up?
   23 A       What do you mean? When I was eye level with them?
   24 Q       No, sir, I'm asking about their height. Did you notice
   25 anything about the height of No. 1, No. 2, and No. 3?
Case: 6:07-cr-00013-DCR-JGW Doc #: 234 Filed: 05/27/08 Page: 9 of 19 - Page ID#: 878
                        KENNETH BRIAN FOUTS - DIRECT - MR. WEST                  9

    1 A       No. 1, he was pretty tall, you know, he was about six foot,
    2 six foot something and --
    3 Q       Why do you say that, sir?
    4 A       He was taller than me.
    5 Q       How tall are you?
    6 A       I'm about five-eleven.
    7 Q       Okay. What about the second one?
    8 A       He was shorter than I was and kinda skinny like.
    9 Q       Okay. What about the third one?
   10 A       He was pretty healthy. I mean, he was healthy, he was
   11 chubby like myself, a little bit.
   12 Q       He had been eating well?
   13 A       Yeah.
   14 Q       All right. Now, you said No. 3, or the third person, was
   15 packing stuff out of the house.
   16 A       Yes.
   17 Q       What stuff was he taking out of the house?
   18 A       They was a trunk sitting in my father's room that had some
   19 clothes and some just whatnots and stuff in it, they packed it
   20 out. And they made me up a little safe that's -- No. 2 made me
   21 open up a safe that I just had some like personal stuff in
   22 that -- where my grandparents passed away, just news clippings
   23 and stuff.
   24 Q       Uh-huh.
   25 A       They made me open that there up and got everything out of
Case: 6:07-cr-00013-DCR-JGW Doc #: 234 Filed: 05/27/08 Page: 10 of 19 - Page ID#:
                      KENNETH BRIAN 879
                                     FOUTS - DIRECT - MR. WEST                10

   1 it.
   2 Q      Did they take anything else out of the house?
   3 A      Two pistols.
   4 Q      Okay. What kind of pistols were they, sir?
   5 A      Ruger GP-345 and a Taurus .38 revolver.
   6 Q      Whose pistols where those?
   7 A      The .45 was mine and the .38 was Mother's.
   8 Q      Okay. Anything else out of the house?
   9 A      Just -- Well, they took my mother's pocketbook and whatever
 10 money, whatever she had in there.
 11 Q       All right. Now, in regards to the weapons that No. 1 and
 12 No. 2 were carrying, what color were they?
 13 A       They was black. That looked like one of them.
 14 Q       That's Exhibit No. 33. How does that compare with what
 15 either No. 1 or No. 2 was holding?
 16 A       Well, look like No. 2 was holding that, because No. 1 had a
 17 light on the end of it.
 18 Q       Okay.
 19 A       It could have been taped on there or anything.
 20 Q       Was the color of that firearm the same?
 21 A       Yeah.
 22 Q       You had mentioned before an AR-15 that you thought they
 23 were carrying. Why is that?
 24 A       I know a little bit about guns. That's just what I
 25 figured, you know, it could have been.
Case: 6:07-cr-00013-DCR-JGW Doc #: 234 Filed: 05/27/08 Page: 11 of 19 - Page ID#:
                      KENNETH BRIAN 880
                                     FOUTS - DIRECT - MR. WEST                11

   1 Q      This is -- this is Exhibit 34, I previously called it 39
   2 but it's actually 34. Take look at that one, sir. How does the
   3 color compare with the firearms used by those two individuals?
   4 A      It looks very similar. I mean, it was dark-colored, you
   5 know.
   6 Q      All right.
   7 A      Plus they had two big clips sticking out of them.
   8 Q      Big clips?
   9 A      Yeah.
 10 Q       What kind of clips, sir?
 11 A       I suppose they was about 20- or 30-round clips. They stuck
 12 out about six or seven inches.
 13 Q       Were they straight clips or banana?
 14 A       Bananas.
 15 Q       Okay. How long were they actually in the residence,
 16 Mr. Fouts?
 17 A       I would say approximately five to eight minutes, at the
 18 most.
 19 Q       Were you ever tied up?
 20 A       No.
 21 Q       Was your mother ever tied up?
 22 A       No.
 23 Q       Handcuffed?
 24 A       No. No. 2 just stood about one foot away with me with a
 25 gun in my back and told me -- he told me not to move.
Case: 6:07-cr-00013-DCR-JGW Doc #: 234 Filed: 05/27/08 Page: 12 of 19 - Page ID#:
                      KENNETH BRIAN 881
                                     FOUTS - DIRECT - MR. WEST                12

   1 Q      Okay. In regards to the three individuals, were any of
   2 them giving directions or issuing orders to the others?
   3 A      Well, seem like No. -- whoever No. 1 was was more in
   4 command than the other two.
   5 Q      Now, is that the taller one?
   6 A      Yeah, that was the tallest one of the three that come into
   7 the house.
   8 Q      Did either No. 1, No. 2, or No. 3 say anything to you when
   9 they left the residence?
 10 A       I was on my belly, and when they was ready to leave, they
 11 said, "No. 2 is going to stay here and watch you while we go
 12 examine the evidence." And I didn't say nothing. I was still
 13 in shock, and I waited about 30 seconds, I said, "Can I go check
 14 on my mother?" And nobody never did answer, and that's when I
 15 knowed, you know, we had been robbed.
 16 Q       Did you call the police, sir?
 17 A       Yes.
 18 Q       How long did it take the police to respond?
 19 A       It was about 45 minutes to an hour when the State Police
 20 got there.
 21 Q       Okay. Did you hear any vehicles outside?
 22 A       No. I was laying on the floor, and I seen taillights
 23 glaring from the door, they had to be backing across the bridge
 24 because we live across a bridge. But I never heared them or,
 25 you know, nothing else, never heared no door slam or nothing.
Case: 6:07-cr-00013-DCR-JGW Doc #: 234 Filed: 05/27/08 Page: 13 of 19 - Page ID#:
                      KENNETH BRIAN 882
                                     FOUTS - DIRECT - MR. WEST                13

   1 Q      But would it be safe to say, sir, that in regards to the
   2 photograph that was there, had the vehicle pulled up close to
   3 the house, you would have heard it?
   4 A      Yeah.
   5 Q      All right. Mr. Fouts, have you ever sold any drugs?
   6 A      No.
   7 Q      Were you selling any drugs in that residence?
   8 A      No.
   9 Q      Was your mother selling any drugs in that residence?
 10 A       No, sir.
 11 Q       Had your mother been recently injured?
 12 A       Yeah, she fell on the front porch there and she had a rod
 13 in her arm, she just had had surgery a couple of weeks before
 14 that.
 15 Q       Okay. Did you observe the rod yourself?
 16 A       Oh, it was stuck up out of the -- the pin here and there
 17 was a big thing stuck up over her arm there.
 18 Q       Do you know if she was on any medication for that?
 19 A       I believe so, yes.
 20 Q       Did you have any vehicles out front, Mr. Fouts?
 21 A       Yes. There was a white Dodge Intrepid that was parked way
 22 up past the house, and her Jeep Liberty that they cut her tires
 23 was parked right beside the steps there.
 24 Q       What color was that Jeep Liberty?
 25 A       It's a black Jeep Liberty.
Case: 6:07-cr-00013-DCR-JGW Doc #: 234 Filed: 05/27/08 Page: 14 of 19 - Page ID#:
                     KENNETH BRIAN FOUTS
                                     883 - CROSS - MR. HOSKINS                14

   1 Q      Did they search the vehicles while they were there?
   2 A      Well, they asked me was there any guns there, and I said
   3 there's mine and the .38 was in the vehicle, and I guess that,
   4 you know, they found it.
   5 Q      Which vehicle was it in?
   6 A      The Jeep Liberty.
   7 Q      Okay. Now, you said they cut the tires?
   8 A      Yes, both back tires, and the keys was in my mother's
   9 pocketbook, and it was about -- I don't know how long it was
 10 before we got an extra set made.
 11 Q       So they cut the back tires off both vehicles?
 12 A       Off the Jeep. They didn't bother the Intrepid. But it was
 13 tore up anyway.
 14 Q       All right. And just to be sure, No. 3 was the shorter one?
 15 A       Yes.
 16 Q       And is it No. 3 the one that you say had the red mustache?
 17 A       Yes.
 18                MR. WEST: That's all, sir.
 19                THE COURT: Thank you.
 20                Mr. Hoskins, you may cross-examine.
 21                                CROSS-EXAMINATION
 22 BY MR. HOSKINS:
 23 Q       Mr. Fouts, I'm curious about that German Shepherd that was
 24 out there.
 25 A       Uh-huh.
Case: 6:07-cr-00013-DCR-JGW Doc #: 234 Filed: 05/27/08 Page: 15 of 19 - Page ID#:
                     KENNETH BRIAN FOUTS
                                     884 - CROSS - MR. HOSKINS                15

   1 Q      You-all live kind of in a remote part of the country?
   2 A      Yeah.
   3 Q      And is that dog usually one that would bark if a stranger
   4 came?
   5 A      Yeah, but he was in a building. He had broken his chain,
   6 he was in a building.
   7 Q      Okay. So you think that's why he wasn't barking?
   8 A      (Witness nodding head affirmatively.)
   9 Q      As I understand it, you told the police that you thought it
 10 was kinda odd that the people who came in there didn't really
 11 search your house but they acted like they knew where to look
 12 for things; is that right?
 13 A       No, they just went straight -- they didn't go into the
 14 kitchen or to the washroom, they just went straight from the
 15 living room to my mother's room and just flipped the light on in
 16 my father's room and just -- they just grabbed a couple of
 17 things and in and out.
 18 Q       They didn't go through things thoroughly and turn out
 19 drawers?
 20 A       No, they wasn't in there -- it seemed like eternity, but
 21 they wasn't in there long.
 22 Q       And you remember that you talked with the State Police
 23 about this?
 24 A       Uh-huh.
 25 Q       This robbery that happened at your house. Your mother did,
Case: 6:07-cr-00013-DCR-JGW Doc #: 234 Filed: 05/27/08 Page: 16 of 19 - Page ID#:
                     KENNETH BRIAN FOUTS
                                     885 - CROSS - MR. HOSKINS                16

   1 too?
   2 A      (Witness nodding head affirmatively.)
   3 Q      And I need you to speak up so this lady here can get your
   4 answer.
   5 A      Oh, I'm sorry.
   6 Q      To repeat my last question, your mother talked to the
   7 police too, didn't she?
   8 A      Yes.
   9 Q      Thank you. You mentioned that you saw three different
 10 people, and I'm wondering, you said No. 1, the one we call No. 1
 11 was -- called No. 1 was around six feet tall?
 12 A       Uh-huh.
 13 Q       Maybe just a little bit taller than you, am I right?
 14 A       Right.
 15 Q       How about No. 2?
 16 A       He wasn't nowhere near as big as No. 1 was.
 17 Q       When you say not as big, you mean not as tall?
 18 A       He wasn't as tall or as -- as wide.
 19 Q       Okay. So No. 1 was big and -- both in height and width?
 20 A       Well, from my angle, it was.
 21 Q       No. 3 was --
 22 A       He was short and chubby.
 23 Q       And he was the one that had the red mustache sticking out a
 24 little bit?
 25 A       Yeah.
Case: 6:07-cr-00013-DCR-JGW Doc #: 234 Filed: 05/27/08 Page: 17 of 19 - Page ID#:
                     KENNETH BRIAN FOUTS
                                     886 - CROSS - MR. HOSKINS                17

   1 Q      No. 2, then, was somewhere in between No. 1 and No. 3 --
   2 A      Yes, he --
   3 Q      -- as far as his height?
   4 A      No. 2 was the smallest in total body of the three
   5 individuals. He was the least person.
   6 Q      Okay. Do you know a guy named Jeremy Brashear?
   7 A      I know of him. I know his brother. I went to school with
   8 his brother.
   9 Q      What's his brother's name?
 10 A       Josh.
 11 Q       Josh? Do you know a Rick Brashear?
 12 A       I don't believe so.
 13 Q       Okay. Do you know a James Bowling?
 14 A       No, sir.
 15 Q       Do you know George Clark?
 16 A       Is that him sitting there?
 17 Q       Yeah.
 18 A       No.
 19 Q       You don't recognize ever seeing him before?
 20 A       No.
 21 Q       Okay. Did it strike you as odd that this happened around
 22 the time that your mother had to have surgery and was taking
 23 some pain medication?
 24 A       She had already had her surgery.
 25 Q       But she was taking some pain medication around that time?
Case: 6:07-cr-00013-DCR-JGW Doc #: 234 Filed: 05/27/08 Page: 18 of 19 - Page ID#:
                     KENNETH BRIAN FOUTS
                                     887 - CROSS - MR. HOSKINS                18

   1 A      Yes.
   2 Q      They cut the tires on the Jeep?
   3 A      True.
   4 Q      But they didn't cut the tires on the Intrepid?
   5 A      It was broke down. It wouldn't have done them no good. I
   6 mean, I don't know why they didn't, but --
   7 Q      Because you couldn't tell the Intrepid was broke down just
   8 by looking at it, could you?
   9 A      No, sir.
 10 Q       So the person that would cut the tires on one vehicle must
 11 have known that other one wasn't running?
 12                MR. WEST: I would object. That calls for
 13 speculation, Your Honor.
 14                THE WITNESS: It had been wrecked --
 15                THE COURT: I'll sustain the objection. He can
 16 describe the car if he wishes to do so.
 17                THE WITNESS: It had been wrecked a couple of months
 18 before. I mean, the back end was same as totaled on it.
 19 BY MR. HOSKINS:
 20 Q       Do you know if any of those Brashears had ever been in your
 21 home?
 22 A       I don't know, sir.
 23 Q       I'm sorry, you don't know or --
 24 A       No, sir.
 25 Q       They had not? All right.
Case: 6:07-cr-00013-DCR-JGW Doc #: 234 Filed: 05/27/08 Page: 19 of 19 - Page ID#:
                                     888                                      19

   1              MR. HOSKINS: That's all. Thank you.
   2              THE COURT: Thank you, Mr. Hoskins.
   3              Mr. West, any redirect of the witness?
   4              MR. WEST: No, sir. Thank you.
   5              THE COURT: Thank you. Mr. Fouts, you may step down.
   6              Any objection to this witness being finally excused?
   7              MR. WEST: No, sir.
   8              THE COURT: Thank you. You're finally excused at this
   9 time.
 10                                (Proceedings concluded at 11:20 a.m.)
 11                             CERTIFICATE
 12         I, Cynthia A. Oakes, certify that the foregoing is a
 13 correct transcript from the record of proceedings in the
 14 above-entitled matter.
 15
 16 5/26/2008                                 s/CYNTHIA A. OAKES
      DATE                                    CYNTHIA A. OAKES, RPR, RMR, CRR
 17
 18
 19                                     INDEX
 20                                                                      PAGE
 21 Testimony of KENNETH FOUTS:
         Direct Examination by Mr. West:                                   2
 22      Cross-Examination by Mr. Hoskins:                                14
 23
 24
 25
